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Exhibit C
 

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B2570 (Form 2570 — Sub i any.
ee ubpoena for Production of Documents, aff ‘Aition, Objects or to Permit Inspection in a Bankruptcy Case or Adversary Case) (12/15)

UNITED STATES BANKRUPTCY COURT

 

District of Nevada
In re: INFINITY CAPITAL MANAGEMENT, INC. Case No. 21-14486-abl
Chapter 7
Debtor.
HASELECT-MEDICAL RECEIVABLES Adversary Case No. 21-01167-abl
LITIGATION FINANCE FUND INTERNATIONAL
SP,
Plaintiff
Vv.
TECUMSEH-INFINITY MEDICAL RECEIVABLES
FUND, LP,
Defendant

 

 

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To: Three Bell Capital, LLC, 4 Main Street, Suite 230, Los Altos, California 94022

BM Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material: See
Exhibit A attached hereto.

 

Location: Talty Court Reporters, Inc. Date and January 4, 2023
2131 The Alameda, Suite D Time: 5:00 p.m.
San Jose, CA 95126

 

 

***Production of electronic records by email to blarsen@shea.law is also acceptable.***

C1 mspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other property
trolled by you at the time, date, and location set forth below, so that the requesting party may inspect,

possessed or con
photograph, test, or sample the property or any designated object or operation on it.

measure, survey,

 

 

Location: Date and Time:

 

 

 

 

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached
— Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena;
and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not doing so.

Date: December 14, 2022.
CLERK OF COURT OR

/s/ Bart K. Larsen, Esq.
Signature of Clerk or Deputy Clerk Attorney’s signature

 

The name, address, email address, and telephone number of the attorney representing HASelect-Medical Receivables
Litigation Finance Fund International SP, who issues or requests this subpoena, is: Bart K. Larsen, Esq., SHEA LARSEN
PC, 173! Village Center Circle, Suite 150, Las Vegas, Nevada 89134, (702) 471-7432, blarsen@shea.law

 

 
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s Notice to the person who issues or requests this subpoena
If this subpocna commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on

the person to whom it is directed, Fed. R. Civ. P. 45(a)(4).

 

 
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B2570 (Form 2570 — Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)

ee

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

 

I received this subpoena for (name of individual and title, if any):

on (date) 1

 

(_] I served the subpoena by delivering a copy to the named person as follows:

‘or

 

 

on (date)

 

[_] I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the

witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $

 

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true and correct.

Date: {

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information conceming attempted service, etc.:

 
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B2570 om arm — Subpoena to ool Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Casc or Adversary Proceeding) (Page 3)

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Federal Rule of Civil Procedure 43(c), (d), (e), and (g) (Effective 12/1/13)

(made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may commanda
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
{ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and

(B) inspection of premises, at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party ot
attomey responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a person
subject to the subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate sanction —
which may include lost earnings and reasonable attorney's fees — on a
party or attormey who fails to comply.

(2) Command to Produce Materials or Permit Inspection.
(A) Appearance Not Required. A person commanded to produce
| documents, electronically stored information, or tangible things, or to

7 permit the inspection of premises, need not appear in person at the place of

production or inspection unless also commanded to appear for a deposition,
= hearing, or trial.
3 (B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing or
sampling any or all of the materials or to inspecting the premises — or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena. ,
(A) When Required, On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected bya
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,

development, or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(1) shows a substantial need for the testimony or material that cannot
be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary course of
business or must organize and label them to correspond to the categories in
the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must produce it in
a form or forms in which it is ordinarily maintained or in a reasonably
usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows goad cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to protection as
trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications,
or tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. \f information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any party that
received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; raust not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may
promptly present the information under seal to the court for the district
where compliance is required for a determination of the claim. The person
who produced the information must preserve the information until the claim

is resolved.

(g) Contempt. The court for the district where compliance is required — and
also, after a motion is transferred, the issuing court - may hold in contempt
a person who, having been served, fails without adequate excuse to obey
the subpoena or an order related to it

 

 

For access to subpoena materials, see Fed. R. Civ, P. 45(a) Committee Note (2013)

 

 

 
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EXHIBIT A

DEFINITIONS
ke “306 Investor Group” refers to 506 Investor Group, LLC, including its employees,
directors, officers, agents, servants, subsidiaries, parent company, affiliated companies, and other
persons acting or purporting to act on its behalf, including its Representatives, as well as anyone
known or believed to be a member of or affiliated with 506 Investor Group.
2. “Bankruptcy Case” shall mean the following case: Jn re Infinity Capital
Management, Inc., United States Bankruptcy Court for the District of Nevada, Case No. 21-14486-
abl, including all related adversary proceedings.

3. “Communication” means any oral or written statement, dialogue, colloquy,

discussion, or conversation, and includes any transfer of thoughts or ideas or data or information,

between persons or locations by means of any Documents or by any other means, including but

not limited to electronic or similar means. f

4. “Control” means in your possession, custody, or control or under your direction,

and includes in the possession, custody, or control of those under the direction of you or your

employees, subordinates, counsel, accountant, consultant, expert, parent or affiliated corporation, ae
and any person purporting to act on your behalf.

5. “Document” means any written or graphic matter and other means of preserving
thought or expression and all tangible things from which information can be processed or
transcribed, including the originals and all non-identical copies, whether different from the original
by reason of any notation made on such copy or otherwise, including, but not limited to,
correspondence, emails, memoranda, notes, messages, letters, telegrams, teletype, telefax,
bulletins, meetings or other communications, inter-office and intra-office telephone calls, diaries,
chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

matter, charts, ledgers, invoices, worksheets, receipts, returns, computer printouts, prospectuses,

 

financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,

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statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or
modifications, changes and amendments of any of the foregoing), graphic or aural records or
representations of any kind (including without limitation, photographs, microfiche, microfilm,
videotape, records and motion pictures) and electronic, mechanical or electric records or
representations of any kind (including without limitation, tapes, cassettes, discs and records) as
well as all Electronically Stored Information (“ESI”), which refers to any type of information that
is created, used, or stored in digital form and accessible by digital means, including but not limited

to, all data, digital documents, email, electronic documents, and metadata of the same (and 1s

further defined below). For the avoidance of doubt, Document includes but is not limited to all

Communications.

6. “FTM” shall refer to FTM Investments, LLC and any affiliated entities known to

be owned or controlled by Endre Debozy and William Dalzell, including all employees, directors,
officers, agents, servants, subsidiaries, parent company, affiliated company, and other persons
acting or purporting to act on behalf of such entities, including Representatives. For the avoidance
of doubt, any request for Communications between You and FTM includes Communications

between You and Endre Debozy or William Dalzell (or any combination thereof).

4s “HASelect” shall refer to HASelect-Medical Receivables Litigation Finance Fund

International SP, including its employees, directors, officers, agents, servants, subsidiaries, parent

company, affiliated company, and other persons acting or purporting to act on its behalf, including
its Representatives.

8. “Infinity” or “Debtor” shall refer to Debtor Infinity Capital Management, Inc.,

including its employees, directors, officers, agents, servants, subsidiaries, parent company,
affiliated company, and other persons acting or purporting to act on its behalf, including its
Representatives. For the avoidance of doubt, any request for Communications between You and

Infinity includes Communications between You and Oliver Hemmers or Anne Pantelas (or any

combination thereof).

9. “Person” refers to any natural individual, governmental entity, or business entity,

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including a corporation, partnership, association, limited liability company, or other entity or

combination thereof, and all corporations, divisions, or entities affiliated with, owned, or
controlled directly or indirectly or owning or controlling directly or indirectly any such entities as

well as directors, officers, managers, employees, agents, attorneys, affiliates, or other

representatives thereof, or third parties retained by any of the above.

10. “PFD” refers to PFD Management, LLC, including its employees, directors,

officers, agents, servants, subsidiaries, parent company, affiliated companies, and other persons

acting or purporting to act on its behalf, including its Representatives.

11. “Representative” means any and all agents, employees, servants, officers,

directors, attorneys, or other persons acting or purporting to act on behalf of the person in question.

12. “Tecumseh” shall refer to Tecumseh-Infinity Medical Receivables Fund, LP,

including its employees, directors, officers, members, agents, servants, subsidiaries, parent
company, affiliated company, and other persons acting or purporting to act on its behalf, including
its Representatives. For the avoidance of doubt, any request for Communications between You

and Tecumseh includes Communications between You and Chadwick Meyer, Mike Belotz, or

Simon Clark (or any combination thereof).

“You” or “Three Bell” shall refer to Three Bell Capital, LLC, including its

13.
employees, directors, officers, members, agents, servants, subsidiaries, parent company, affiliated

company, and other persons acting or purporting to act on its behalf, including its Representatives.
relate to”, or “relating to” shall mean directly or

3 66.

14. The terms “related to”,
indirectly, refer to, reflect, describe, pertain to, arise out of or in connection with, or in any way

legally, logically, or factually be connected with the matter discussed.

INSTRUCTIONS

1. When producing the Documents, please keep all Documents segregated by the file
in which the Documents are contained and indicate the name of the file in which the Documents
are contained, and the name of the Documents being produced.

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ds When producing the required Documents, please produce all other Documents that
are clipped, stapled, or otherwise attached to any requested Document.
3 In the event such file(s) or Document(s) has (have) been removed, either for the
purpose of this action or for some other purpose, please state the name and address of the person
who removed the file, the title of the file and each subfile, if any, maintained within the file, and
the present location of the file.

4. Each draft, final Document, original, reproduction, and each signed and unsigned
Document and every additional copy of such Document where such copy contains any
commentary, note, notation or other change whatsoever that does not appear on the original or on

the copy of the one Document produced shall be deemed and considered to constitute a separate
Document.

5. If any Document encompassed by the attached requests for production of
Documents is deemed by you to be privileged, furnish all non-privileged Documents and provide
a log outlining all Documents claimed as privileged which includes: (a) the type of privilege
claimed for each Document; (b) a brief description of the Document; (c) the author of the

Document sufficient to identify it; (d) the recipient (if any); (e) the date of the Document.

6. When appropriate, the singular form of a word should be interpreted in the plural
as may be necessary to bring within the scope hereof any Documents which might otherwise be
construed to be outside the scope hereof.

7. In addition to Documents currently in your possession, custody, or control, you are
to produce all Documents within the scope of these requests that are not currently in your
possession, custody, or control but can be obtained through reasonable effort.

8. This request calls for the production of all electronic Documents and electronically
stored information (ESI) responsive to the requests below, including but not limited to e-mails and
any related attachments, electronic files, or other data compilations that relate to the categories of
Documents requested below. Your search for these electronically stored Documents shall include
all of your computer hard drives, floppy discs, compact discs, backup and archival tapes,

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removable media such as zip drives, password protected and encrypted files, databases, electronic
calendars, personal digital assistants, iPhones, smart phones, tablets, iPads, proprietary software,
and inactive or unused computer disc storage areas.
9. The words “and” and “or” as used herein shall be construed either disjunctively or
conjunctively as required by the context to bring within the scope of these Requested Documents
any answer that might be deemed outside their scope by another construction.

10. Unless otherwise stated, the following Document requests relate to the time period

of January 1, 2019 through the date of your response.

DOCUMENT PRODUCTION REQUESTS

1. All Documents relating to any Communication between You and Infinity relating
to HASelect.
a All Documents relating to any Communication between You and Infinity relating

to Tecumseh.

3. All Documents relating to any Communication between You and relating to the
Bankruptcy Case.
4. All Documents relating to any Communication between You and Infinity relating

to the sale, purchase, sourcing, servicing, collection, or valuation of accounts receivable.

5. All Documents relating to any Communication between You and Infinity relating
to FTM Investments.
6. All Documents relating to any Communication between You and Tecumseh

relating to HASelect.

7. All Documents relating to any Communication between You and Tecumseh
relating to Infinity.
8. All Documents relating to any Communication between You and Tecumseh

relating to the Bankruptcy Case.

9. All Documents relating to any Communication between You and Tecumseh

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relating to the sale, purchase, sourcing, servicing, collection, or valuation of accounts rece

10. All Documents relating to any Communication between You and FTM relating

to HASelect.

11. All Documents relating to any Communication between You and FTM relating to

Infinity.

12. All Documents relating to any Communication between You and FTM relating to

Tecumseh.

13. All Documents relating to any Communication between You and FTM relating to
the Bankruptcy Case.

14. All Documents relating to any Communication between You and FTM relating to

the sale, purchase, sourcing, servicing, collection, or valuation of accounts receivable.

15. All Documents relating to any Communication between You and any Person,

including but not limited to 506 Investor Group and PFD, regarding HASelect’s relationship to
Infinity or FTM.

16. All Documents relating to any Communication between You and any Person,

including but not limited to 506 Investor Group and PFD, regarding Tecumseh’s relationship to

Infinity or FTM.

17. All Documents relating to any agreement between You and Infinity relating to the

sale, purchase, sourcing, servicing,

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collection, or valuation of accounts receivable.

All Documents relating to any agreement between You and Tecu

the sale, purchase, sourcing, servicing,

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mseh relating to
collection, or valuation of accounts receivable.

All Documents relating to any agreement between You and

FTM relating to the
sale, purchase, sourcing, servicing,

collection, or valuation of accounts receivable,

 

 
